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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                           WICHITA FALLS DIVISION


FRANCISCAN ALLIANCE, INC.;
SPECIALTY PHYSICIANS OF
ILLINOIS, LLC;
CHRISTIAN MEDICAL &
DENTAL ASSOCIATIONS;

- and -

STATE OF TEXAS;
STATE OF WISCONSIN;
STATE OF NEBRASKA;
COMMONWEALTH OF                          Civ. Action No. 7:16-cv-00108-O
KENTUCKY, by and through
Governor Matthew G. Bevin;
STATE OF KANSAS; STATE OF
LOUISIANA; STATE OF
ARIZONA; and STATE OF                    BRIEF IN OPPOSITION TO
MISSISSIPPI, by and through               RENEWED MOTION TO
Governor Phil Bryant,                          INTERVENE

          Plaintiffs,

v.

ALEX M. AZAR, II, Secretary of the
United States Department of Health
and Human Services; and UNITED
STATES DEPARTMENT OF HEALTH
AND HUMAN SERVICES,

          Defendants.
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                                      INTRODUCTION

       The speculative interests of public policy organizations concerned with voicing

their opinions about laws do not justify intervention. Intervenors must have skin in

the game. Before a court may allow a party to intervene, the party must establish

that it—and not third parties associated with it—has a concrete interest that will be

affected by the court’s decisions. The putative intervenor also must establish that

other parties to the litigation do not adequately represent its interests, a tall order

when the federal government is presumed to represent those interests.

       The ACLU of Texas and the River City Gender Alliance (collectively, “putative

intervenors”) renew their motion to intervene in this litigation either as of right or

permissively. Yet neither of these organizations can demonstrate a legally protectable

interest that would be impacted by an adverse decision from the Court. Moreover, as

the Court has repeatedly indicated already, it is still too early to assess whether the

putative intervenors should be allowed to intervene as of right because neither the

parties nor the Court can assess whether they are inadequately represented until

Defendants file a responsive pleading. Thus, the putative intervenors do not satisfy

the requirements for intervention as of right.

       Plaintiffs are willing, however, to consent to permissive intervention provided

that the Court prevents the putative intervenors from conducting discovery, moving

to stay the litigation or the preliminary injunction, and disrupting the dispositive

motion schedule. Thus, the Court should deny the putative intervenors’ motion to

intervene as of right, but grant their motion for permissive intervention provided that

they comply with the foregoing conditions.

                                PROCEDURAL HISTORY

       Plaintiffs initiated this action on August 23, 2016. Compl., ECF No. 1. The case

concerns a final rule promulgated by the U.S. Department of Health and Human

Services (“HHS”) that redefines sex discrimination in healthcare to include “gender


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identity” and “termination of pregnancy” discrimination. 45 C.F.R. § 92.4 (the “Rule”).

Plaintiffs are eight States and three private entities engaged in the provision and

regulation of healthcare. Defendants are HHS and the Secretary of HHS.

       On September 16, 2016, the putative intervenors filed a motion to intervene as

of right or permissively under Rule 24. Mot. to Interv., ECF No. 7. On October 7, 2016,

the Court granted Plaintiffs an extension of time to respond to the putative

intervenors’ motion to intervene until 14 days after Defendants filed their responsive

pleading. Order 3, ECF No. 20.

       Plaintiffs filed the operative complaint on October 17, 2016, Am. Compl., ECF

No. 21, and moved for partial summary judgment or, in the alternative, a preliminary

injunction on October 21, 2016, State Pls.’ Mot. for Summ. J., ECF No. 22; Private

Pls.’ Mot. for Summ. J., ECF No. 24. In response, the putative intervenors moved to

stay briefing on Plaintiffs’ motions and reset the deadlines for responding to their

motion to intervene. Put. Interv. Mot. to Stay., ECF No. 27. Defendants moved to stay

briefing on Plaintiffs’ dispositive motions, and for a briefing schedule on Plaintiffs’

alternative motions for preliminary injunction. Defs.’ Mot. to Set Sch., ECF No. 28.

On November 1, 2016, the Court granted in part and denied in part Defendants’

motion to set a briefing schedule, and denied the putative intervenors’ motion to stay.

Order 1, ECF No. 32. The Court set a schedule for the parties to brief the motions for

preliminary injunction, and stayed Plaintiffs’ motions for partial summary judgment.

Id. at 7.

       Nine days later, the putative intervenors filed a motion for expedited

reconsideration of their motion to intervene, or, in the alternative, for a stay of

proceedings. Put. Interv. Mot. for Reconsid., ECF No. 38. The putative intervenors

also filed a motion for leave to file an overlength brief as amici curiae, Put. Interv.

Mot. for Expand. Page Limit, ECF No. 44, which the Court granted, Order 1, ECF

No. 45.


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        On December 31, 2016, the Court issued a nationwide preliminary injunction

against the Rule’s prohibition against discrimination on the basis of gender identity

or termination of pregnancy. Prelim. Inj. Order, ECF No. 62; Franciscan All., Inc. v.

Burwell, 227 F. Supp. 3d 660, 695–96 (N.D. Tex. 2016).

        On January 9, 2017, the putative intervenors again moved for a ruling on their

motion to intervene and, separately, for a stay of the preliminary injunction. Put.

Interv. Mot. for Ruling, ECF No. 63. In denying the putative intervenors’ motion to

intervene as of right, the Court held that they had not yet satisfied the standards for

intervention as of right because it was “not yet clear whether Defendants will

adequately represent Putative Intervenors’ interests.” Order 7, ECF No. 69. The

Court also ordered the parties to respond to the putative intervenors’ motion for

permissive intervention, id. at 8, and denied their motion to stay the preliminary

injunction, id. at 12. 1
        On March 14, 2017, Plaintiffs jointly moved for partial summary judgment. 2

Pls.’ Mot. Summ. J., ECF No. 82. In response, the putative intervenors once again

moved to stay the proceedings pending resolution of their intervention appeal, Put.

Interv. Mot. to Stay, ECF No. 85, and Defendants moved to voluntarily remand the

case to HHS and stay proceedings in this Court, Defs.’ Mot. Vol. Remand & Stay, ECF

No. 92. On July 10, 2017, the Court granted in part and denied in part Defendants’

motion, stayed the case, ordered Defendants to provide periodic status updates to the


1The putative intervenors filed a protective appeal of the preliminary injunction on January 30, 2017.
Protec. Not. of Appeal, ECF No. 71. They also appealed the Court’s denial of their motion to intervene
as of right. Not. of Appeal, ECF No. 72. On June 30, 2017, the Fifth Circuit granted Plaintiffs’ motion
to dismiss the putative intervenors’ appeal from the denial of intervention as of right. Order 2,
Franciscan All., Inc. v. Cochran, No. 17-10135, (5th Cir. June 30, 2017), Doc. 00514055754.

2 Prior to moving for partial summary judgment in March 2017, Plaintiffs purported to voluntarily

dismiss Counts III–X and XIII–XX under Rule 41(a)(1)(A)(i). ECF No. 81. That “dismissal,” however,
was ineffective because Rule 41(a) dismissals apply only to the dismissal of an entire action, not
particular claims. Bailey v. Shell W. E&P, Inc., 609 F.3d 710, 720 (5th Cir. 2010). Thus, these counts
remain live in the operative complaint.



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Court, retained jurisdiction over the case, and clarified that the preliminary

injunction order remained in place. Order 10, ECF No. 105.

       Since July 2017, Defendants have filed nine status reports, each indicating

scant progress on revising or repealing the Rule. Thus, on December 13, 2018,

Plaintiffs moved the Court to hold a status conference, Pls.’ Mot. for Status Conf.,

ECF No. 121, and the parties later filed a joint motion to lift the stay, vacate the

status conference, and set a briefing schedule for dispositive motions, Jt. Mot. to Lift

Stay, ECF No. 125, which the Court granted, Order 1, ECF No. 126. Pursuant to the

schedule, the putative intervenors filed a renewed motion to intervene, Put. Interv.

Mot. to Interv., ECF No. 129, the State Plaintiffs filed a motion for summary

judgment, State Pls.’ Mot. Summ. J., ECF No. 132, and the Private Plaintiffs filed a

motion for partial summary judgment, Private Pls.’ Mot. Summ. J., ECF No. 135.

                                         ARGUMENT

       A party seeking to intervene as of right under Rule 24(a)(2) must satisfy four

requirements: “(1) the motion to intervene is timely; (2) the potential intervener

asserts an interest that is related to the property or transaction that forms the basis

of the controversy in the case into which she seeks to intervene; (3) the disposition of

that case may impair or impede the potential intervener’s ability to protect her

interest; and (4) the existing parties do not adequately represent the potential

intervener’s interest.” Saldano v. Roach, 363 F.3d 545, 551 (5th Cir. 2004) (citing Doe

v. Glickman, 256 F.3d 371, 375 (5th Cir. 2001)). “If a party seeking to intervene fails

to meet any one of those requirements, it cannot intervene as a matter of right.”

Sierra Club v. Espy, 18 F.3d 1202, 1205 (5th Cir. 1994) (citing Kneeland v. NCAA,

806 F.2d 1285, 1287 (5th Cir. 1987)).

       Permissive intervention is “‘wholly discretionary with the [district] court . . .

even though . . . the requirements of Rule 24(b) are otherwise satisfied.’” New Orleans

Pub. Serv., Inc. v. United Gas Pipe Line Co. (NOPSI), 732 F.2d 452, 470–71 (5th Cir.


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1984) (en banc) (quoting 7C Charles A. Wright & Arthur R. Miller, Fed. Prac. & Proc.:

Civil § 1913 at 551). Before granting permissive intervention, the court should

determine “‘whether the intervenors’ interests are adequately represented by other

parties.’” Id. at 472 (quoting Spangler v. Pasadena City Bd. of Educ., 552 F.2d 1326,

1329 (9th Cir. 1977)). Permissive intervention is not appropriate if it will “unduly

delay or prejudice the adjudication of the original parties’ rights.” Fed. R. Civ. P.

24(b)(3).

        Putative intervenors fail to demonstrate that they are entitled to intervene as

of right. While their original motion was timely, Order 3, ECF No. 20, they lack a

legally protectable interest that may be impaired by an adverse ruling, and it remains

unclear whether their interests are inadequately represented by the federal

defendants. Nevertheless, and without conceding their satisfaction of the

requirements for permissive intervention, Plaintiffs consent to the putative

intervenors’ permissive intervention provided they are not permitted to conduct

discovery, move for a stay of the litigation or of the preliminary injunction, or cause

any further delay to the full and final resolution of this case in the district court. 3

I.      The Court Should Deny Intervention as of Right.

        A.      Putative intervenors lack a legally protectable interest.
        “To demonstrate an interest relating to the property or subject matter of the

litigation sufficient to support intervention of right, the applicant must have a direct,

substantial, legally protectable interest in the proceedings.” Edwards v. City of

Houston, 78 F.3d 983, 1004 (5th Cir. 1996) (quotation marks and citation omitted).

This “interest [must] be one which the substantive law recognizes as belonging to or

being owned by the applicant.” NOPSI, 732 F.2d at 464. In addition, the intervenor

3 In their motion, the putative intervenors argue they possess Article III standing to intervene.
Plaintiffs dispute that the putative intervenors have Article III standing, but in this brief, Plaintiffs
focus solely on the requirements for intervention as a defendant under Rule 24.



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should be the real party in interest regarding his claim. Id. Thus, an intervenor may

not assert the rights of others. Id. (citing Warth v. Seldin, 422 U.S. 490, 499, 509

(1975)).

       Here, the evidence offered in support of the putative intervenors’ motion is

inadmissible. But even if the Court considers the evidence, it shows that the putative

intervenors lack a legally protectable interest in the legality and constitutionality of

the Rule and are attempting to assert the rights of others. As to the Rule’s prohibition

against “gender identity” discrimination, the ACLU of Texas asserts it has “multiple

members who are transgender and seeking transition-related care for gender

dysphoria,” offering one example of a member in Texas who is allegedly insured

through Medicaid and “requires” surgery related to his transition. Put. Interv. App.

2 ¶ 4, ECF No. 131. The River City Gender Alliance claims “members residing in

Nebraska and surrounding states” need gender transition services, including at least

one member who “requires” surgery related to a transition, but is insured through

Medicaid. Id. at 5 ¶ 3. As to the Rule’s prohibition against “termination of pregnancy”

discrimination, only the ACLU of Texas alleges “multiple members who anticipate

requiring reproductive care,” including one who “informed” the ACLU’s declarant

that she “could” be at risk if a public or religiously affiliated hospital denied her care.

Id. at 2 ¶ 5.

       The Court should exclude the evidence submitted by the putative intervenors

because the evidence lacks a proper evidentiary foundation, is speculative, and is

based on inadmissible hearsay. First, both declarations filed by the putative

intervenors are based on inadmissible hearsay. The declarant for the ACLU of Texas

is the deputy director of that organization. Id. at 1 ¶ 1. Her declaration asserts that

some members of the ACLU of Texas are seeking transgender surgeries and

abortions, referencing one unnamed member for each of these alleged interests.

Likewise, the declarant for the River City Gender Alliance is the president of that


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organization. Id. at 4 ¶ 1. Her declaration refers to members who anticipate needing

gender transition treatment, referencing one unnamed member in particular. But

none of the members of these organizations who are allegedly affected by the

injunction submitted witness declarations. Thus, the basis of both putative

intervenors’ declarations is inadmissible hearsay. Fed. R. Evid. 801–802.

       Second, both declarations lack foundation and are speculative. The deputy

director of the ACLU of Texas is not herself stating that she needs gender transition

or abortion services, but that one of the members of that organization needs, or may

need, those services in the future. Put. Interv. App. 2 ¶ 4. The president of the River

City Gender Alliance alleges that members of the organization, not herself, desire

gender transition services through Medicaid. Id. at 4 ¶ 1. The putative intervenors

provide no foundation for these statements, which include speculation as to future

events that may or may not occur. They do not establish how the deputy director of

the ACLU of Texas and the president of the River City Gender Alliance know the

third-parties for whom they purport to speak or how they came to know about the

private medical needs of these people. By not providing a basis for their testimony,

the declarants lack personal knowledge and are speculating about third parties,

which is barred by the Federal Rules of Evidence. Fed. R. Evid. 602.

       The putative intervenors’ declarations are also speculative because they fail to

offer any evidence of a doctor who is willing to perform the transition surgeries and

abortions their members claim to need but cannot receive due to the injunction

against the Rule. They also offer no evidence that the member of the ACLU of Texas

who has had abortions is pregnant currently or how she would be impaired by an

adverse ruling because they claim this same person had an abortion last year while

the Rule was enjoined. Obviously, the injunction against the Rule did not prevent her

from getting an abortion. Finally, the allegation that this member fears being denied

emergency healthcare is unfounded because States do not prohibit abortions when


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the life of the mother is at stake. See, e.g., Tex. Health & Safety Code §§ 171.002(3),

.0124, .046.

       In addition to the putative intervenors’ motion being based on inadmissible

evidence, they also assert only “ideological, economic, or precedential” interests that

are insufficient for intervention. Texas v. United States, 805 F.3d 653, 657–58 (5th

Cir. 2015). The putative intervenors simply “prefer[] one outcome to the other.” Id. In

NOPSI, the Fifth Circuit, sitting en banc, held that the City of New Orleans possessed

only a generalized economic interest in the outcome of a fuel price dispute between a

utility company and natural gas retailer. NOPSI, 732 F.2d at 466. In Northland

Family Planning Clinic, Inc. v. Cox, the Sixth Circuit held that an advocacy

organization opposing abortion could not intervene in an action contesting a Michigan

law because the organization had “only an ideological interest in the litigation, and

the lawsuit does not involve the regulation of the [organization’s] conduct in any

respect.” 487 F.3d 323, 345 (6th Cir. 2007). Similarly, the putative intervenors are

public policy organizations that are “dedicated to defending the principles embodied

in our Constitution and our nation’s civil rights laws,” Put. Interv. App. 2 ¶ 2 (ACLU

of Texas), advocate on behalf of transgender people and abortion, id. at 3 ¶ 6 (ACLU

of Texas), and “advocate for social acceptance of transgender and gender non-

conforming people,” id. at 5 ¶ 4 (River City Gender Alliance). The Rule does not

regulate the conduct of the ACLU of Texas or the River City Gender Alliance. And

there is no admissible evidence that it regulates the conduct of any of their members.

Thus, the putative intervenors’ evidence in support of intervention is inadmissible,

and even if it were admissible, they still lack legally protectable interests.

       B.      It remains unclear whether putative intervenors’ interests will
               be adequately represented.
       The putative intervenors bear the “burden of establishing inadequate

representation.” Haspel & Davis Milling & Planting Co. Ltd. v. Bd. of Levee Comm’rs



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of the Orleans Levee Dist., 493 F.3d 570, 578 (5th Cir. 2007); Order 2, ECF No. 20

(citing Espy, 18 F.3d at 1207). While the burden is “minimal,” Brumfield v. Dodd, 749

F.3d 339, 345 (5th Cir. 2014), “it cannot be treated as so minimal as to write the

requirement completely out of the rule,” Edwards, 78 F.3d at 1005 (quotation marks

and citation omitted). The requirement to show inadequacy “must have some teeth.”

Brumfield, 749 F.3d at 345. Thus, the putative intervenors must overcome “two

presumptions of adequate representation.” Edwards, 78 F.3d at 1005. The first is

where one party “is a governmental body or officer charged by law with representing

the interests of the absentee, a presumption of adequate representation arises

whether the would-be intervenor is a citizen or subdivision of the governmental

entity.” Id. When this is the case, “a much stronger showing of inadequacy is

required.” Hopwood v. Texas, 21 F.3d 603, 605 (5th Cir. 1994) (citing 7C Charles A.

Wright & Arthur R. Miller, Fed. Prac. & Proc. § 1909 (2d ed. 1986)). The second

“arises when the would-be intervenor has the same ultimate objective as a party to

the lawsuit,” in which event “the applicant for intervention must show adversity of

interest, collusion, or nonfeasance on the part of the existing party to overcome the

presumption.” Edwards, 78 F.3d at 1005 (citing United States v. Franklin Parish Sch.

Bd., 47 F.3d 755, 757 (5th Cir. 1995)). Presently, both presumptions are satisfied in

this case.

       Over the course of this litigation, the putative intervenors have raised several

unsuccessful arguments as to why Defendants do not adequately represent their

interests. In their original motion to intervene, the putative intervenors argued that

Defendants failed to guarantee they would appeal a preliminary injunction,

Defendants did not raise the same defenses as the putative intervenors, and

President Trump made campaign statements that he wanted to repeal the Affordable

Care Act (the basis for the Rule). The Court correctly rejected each of these

arguments. Order 7, ECF No. 69. Now the putative intervenors assert that


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Defendants do not adequately represent their interests because Defendants sought

remand of the case to HHS to reevaluate the Rule and potentially engage in new

rulemaking. Put. Interv. Br. 8, ECF No. 130. But Defendants requested remand

nearly two years ago, Defs.’ Mot. for Vol. Remand & Stay, ECF No. 92, and since that

time filed nine status reports indicating scant progress on any rulemaking. In fact,

Defendants’ lack of action raises the distinct possibility that HHS wishes to stand by

the Rule and defend its lawfulness, which overcomes the putative intervenors’

arguments to the contrary. See Freedom from Religion Found., Inc. v. Geithner, 644

F.3d 836, 841 (9th Cir. 2011) (finding the presumption of adequate representation is

“nowhere more applicable than in a case where the Department of Justice deploys its

formidable resources” to defend a federal law) (quotation marks and citation omitted).

And the putative intervenors proffer no evidence that Defendants are engaged in

collusion or nonfeasance. See Haspel, 493 F.3d at 579.

       At bottom, we do not know whether the Defendants will inadequately

represent the putative intervenors’ interests until the Defendants respond to

Plaintiffs’ motions for summary judgment, and, as it stands right now, the Court

must presume adequate representation. Edwards, 78 F.3d at 1005. Throughout the

litigation the Court has agreed with this conclusion because Defendants had not yet

filed an answer to the operative complaint. Order 6, ECF No. 32. As such, the Court

delayed briefing and consideration of the motion to intervene until after Defendants

filed their answer. Order 3, ECF No. 20. Defendants never filed an answer because

they moved to stay and remand the case. Now that the parties agreed to reopen the

litigation and move it to final resolution in this Court, it makes sense that the Court

would wait to see Defendants’ position, as articulated in their response to Plaintiffs’

dispositive motions, before it determines whether the putative intervenors’ interests

are adequately represented. Order 7, ECF No. 69. And there is no prejudice to the

putative intervenors by adopting this course of action because the briefing schedule


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entered by the Court allows them to lodge a cross-motion for summary judgment and

a brief in opposition to Plaintiffs’ motions for summary judgment, should they choose

to do so. Order 2, ECF No. 126. Thus, the Court should consider the putative

intervenors’ renewed motion to intervene and their proposed motion for summary

judgment at the same time as it considers the parties’ cross-motions for summary

judgment, and rule on all those motions simultaneously.

II.      If the Court Allows Permissive Intervention, it Should Limit the
         Putative Intervenors’ Participation.
         Plaintiffs consent to the putative intervenors’ permissive intervention provided

that the Court places limitations on their participation in this case. “When granting

an application for permissive intervention, a federal district court is able to impose

almost any condition, including the limitation of discovery.” Columbus-Am. Discovery

Grp. v. Atl. Mut. Ins. Co., 974 F.2d 450, 469 (4th Cir. 1992) (citing 7C Charles A.

Wright & Arthur R. Miller, Fed. Prac. & Proc. § 1922 (2d ed. 1986)); see Stringfellow

v. Concerned Neighbors in Action, 480 U.S. 370, 378 (1987) (noting district courts’

power to restrict the ability of an intervenor to take discovery or request additional

relief). 4
         Plaintiffs are willing to consent to permissive intervention on the conditions

that the Court prevent the putative intervenors from conducting discovery, moving

to stay the litigation or the preliminary injunction, and disrupting the established

schedule for dispositive motions. Plaintiffs have already gone out of their way to

accommodate the putative intervenors by agreeing to allow them to lodge briefs in

support of and opposition to summary judgment. But because they agree the


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 This is also true for intervention as of right. See Beauregard v. Sword Servs. LLC, 107 F.3d 351, 352–53
(5th Cir. 1997) (“[I]t is now a firmly established principle that reasonable conditions may be imposed even
upon one who intervenes as of right.”); see also Harris v. Amoco Prod. Co., 768 F.2d 669, 675 (5th Cir.
1985) (“[T]he intervenor’s mere presence in an action does not clothe it with the status of an original
party.”).



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questions presented by this case are primarily legal, Put. Interv. Br. 3 ECF No. 130,

they should not be allowed discovery, see Bibles v. City of Irving, No. 3:08-CV-1795-

M, 2009 WL 2252510, at *5 (N.D. Tex. July 28, 2009) (limiting intervenor’s

participation in discovery and legal issues). Thus, if the Court permits intervention,

it should place these limitations on the putative intervenors.

                                        CONCLUSION

       The Court should deny the motion to intervene as of right. However, Plaintiffs

consent to permissive intervention provided that the putative intervenors are not

permitted to conduct discovery, stay the litigation or the preliminary injunction, and

cause delay to the established summary judgment briefing schedule.

       Respectfully submitted this the 25th day of February, 2019.

 DOUG PETERSON                                 KEN PAXTON
 Attorney General of Nebraska                  Attorney General of Texas

 DEREK SCHMIDT                                 JEFFREY C. MATEER
 Attorney General of Kansas                    First Assistant Attorney General

 JEFF LANDRY                                   BRANTLEY D. STARR
 Attorney General of Louisiana                 Deputy First Assistant Attorney General

 MARK BRNOVICH                                 RYAN L. BANGERT
 Attorney General of Arizona                   Deputy Attorney General for Legal Counsel

                                               /s/ David J. Hacker
                                               DAVID J. HACKER
                                               Special Counsel for Civil Litigation
                                               Texas Bar No. 24103323
                                               david.hacker@oag.texas.gov

                                               MICHAEL C. TOTH
                                               Special Counsel for Civil Litigation
                                               Texas Bar No. 24100608
                                               michael.toth@oag.texas.gov

                                               OFFICE OF THE ATTORNEY GENERAL
                                               P.O. Box 12548, Mail Code 001
                                               Austin, Texas 78711
                                               (512) 936-1414
                                               ATTORNEYS FOR PLAINTIFFS
                                               STATE OF TEXAS; STATE OF


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                                               WISCONSIN; STATE OF
                                               NEBRASKA; COMMONWEALTH
                                               OF KENTUCKY, by and through
                                               Governor Matthew G. Bevin;
                                               STATE OF KANSAS; STATE OF
                                               LOUISIANA; STATE OF ARIZONA; and
 /s/ Luke W. Goodrich                          STATE OF MISSISSIPPI, by and through
 Luke W. Goodrich                              Governor Phil Bryant
 DC Bar No. 977736
 Eric C. Rassbach
 Mark L. Rienzi
 Stephanie H. Barclay
 The Becket Fund for Religious
 Liberty
 1200 New Hampshire Ave. NW
 Suite 700
 Washington, DC 20036
 (202) 955-0095
 (202) 955-0090
 lgoodrich@becketlaw.org

 Counsel for Plaintiffs Christian
 Medical & Dental Associations,
 Franciscan Alliance, Inc., Specialty
 Physicians of Illinois, LLC




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                              CERTIFICATE OF SERVICE
       I hereby certify that on February 25, 2019, I electronically filed the foregoing

document through the Court’s ECF system, which automatically serves notification

of the filing on counsel for all parties.

                                                 /s/ David J. Hacker
                                                 DAVID J. HACKER




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